






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN







NO. 03-12-00112-CV






Premier Ambulatory Surgery of Austin, L.L.P. d/b/a

South Austin Surgery Center, Appellant


v.


Sandra Pellerin, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 201ST JUDICIAL DISTRICT

NO. D-1-GN-11-002325, HONORABLE RHONDA HURLEY, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



	Appellant Premier Ambulatory Surgery of Austin, L.L.P. d/b/a South Austin
Surgery&nbsp;Center no longer wishes to pursue its appeal and has filed an Unopposed Motion for
Voluntary Dismissal.  Appellant's counsel states that he has conferred with counsel for appellee
Sandra Pellerin, who does not oppose this motion.  We grant the motion and dismiss the appeal. 
Tex. R. App. P. 42.1(a).


					__________________________________________

					Jeff Rose, Justice

Before Chief Justice Jones, Justices Pemberton and Rose

Dismissed on Appellant's Motion

Filed:   April 25, 2012


